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         Exhibit 1
       Case: 3:21-cv-00676-jdp Document #: 72-2 Filed: 12/14/22 Page 2 of 2



From: Potts, Brian (MSN) <BPotts@perkinscoie.com>
Sent: Monday, August 15, 2022 11:40 AM
To: Carson, Gesina S. <carsongs@doj.state.wi.us>; Patterson, Beauregard W.
<PattersonBW@doj.state.wi.us>
Cc: Roberts, Cassie (POR) <CRoberts@perkinscoie.com>
Subject: Blue Mound Follow-Up


EXTERNAL EMAIL: This email originated from outside the organization. Do not click links or open
attachments unless you recognize the sender and know the content is safe.


Hi Ena and Beauregard:

Pursuant to our call with the magistrate judge last week, below is what we would like from Ms.
VanLanduyt. Because of your concern related to word searches, we’ve narrowed it down to just
correspondence between Ms. VanLunduyt and two other document custodians. As all of these
witnesses have testified during their depositions that they do not have personal relationships
with each other, we would expect all of this correspondence to be work related. Nonetheless, if
you have concerns regarding these requests or think we need to narrow it down further, please
let me know.

   x   All non-privileged correspondence, including emails and text messages, between Ms.
       VanLunduyt and Diane Brusoe sent or received anytime between August 1, 2021 through
       August 1, 2022.
   x   All non-privileged correspondence, including emails and text messages, between Ms.
       VanLunduyt and Steven Schmelzer sent or received anytime between August 1, 2021
       through December 31, 2021.
   x   All metadata related to the allegedly “draft” August 5, 2021 agenda.

Thanks,
Brian



Brian H. Potts
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Inventions: Legal Keyboards, App, ETF
